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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

   ENERGY XXI, GoM, LLC                      $
                                             $
                          Plaintffi          $
                                             $
   vs.                                       $          Civil Action No.4:10-cv-001l0
                                             $
   NEW TECH ENGINEERING, L.P.                $
                                             $
                          Defendant.         $
                                             $


               NEW TECH ENGINEBRING, L.p.'S MOTION FOR
          CERTIFICATION OF ORDER FOR INTERLOCUTORY APPEAL

TO THE HONORABLE TINITED STATES DISTRICT JUDGE:

         COMES Now New Tech Engineering, L.P. ("New Tech"), defendant and

counter-plaintiff herein, and f,rles this Motion for Certifìcation of Order for Interlocutory

Appeal. New Tech respectfully asks this Court to certify one question raised in its April

15,201 1 Order (Rec. Doc. 42) for interlocutory appeal to the Fifth Circuit pursuant to 28

U.S.C. $ 1292(b). In support thereof, New Tech would respectfully show this Honorable

Court the following:

                                 T. INrRooucTIoN

         1.1 Pursuant to28 U.S.C. ç 1292(b), a district courl rnay certify an order for
interlocutory appeal if it presents a "controlling question of law as to which there is

substantial ground for difference of opinion and . . . an immediate appeal from the order

tnay materially advance the ultimate termination of the litigation." This Coufi's April 15,

20ll Order (Rec. Doc. 42) raises just such a question-i.e. whether a reciprocal
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    indemnity agreement between two contracting parties is enforceable under maritime law

for claims of gross negligence.r As such, New Tech requests that the Court arnend its

Order to certify this question for interlocutory appeal.

                                               II. Fncrs
          2.1 Energy XXI, GoM, LLC ("EXXI") originally fîled suit against New Tech
for negligence arising out of an alleged incident on a drilling rig that was perfonning a

recompletion operation on the South Tirnbalier 21, No. 128 oil and gas well (hereinafter

"the Well"). (Rec. Doc. l). New Tecli contracted with EXXI to provide an independent

consultant to serve as EXXI's company ÍÌan for this operation. The parties had

previously entered into a Master Service Contract ("MSC") which governed the services

being provided by New Tech for the Well. The MSC contained reciprocal indernnity

provisions whereby the parties agreed to defend, indernnify, and hold each other harmless

in certain situations. New Tech's Mot. for Summ. J, Ex. C at $ 4 (Rec. Doc. 16). The

relevant indernnity provision at issue in this case states as follows:

                 ENERGY XXI SHALL BE RESPONSIBLE, AND INEW TECH]
                 SHALL NEVER BE LIABLE, FOR PROPERTY DAMAGE OF...
                 ENERGY XXI... AND ENERGY XXI AGREES TO DBFEND.
                 INDEMNIFY AND HOLD HARMLESS. INBW TBCHì,
                 AGAINST ANY AND ALL SUCH CLAIMS. DEMANDS"
                 LOSSES OR SUITS, (INCLUDING, BUT NOT LIMITED TO,
                 CLAIMS, DEMANDS, OR SUITS FOR PROPERTY DAMAGE...)

I
  Thi, ¡, a contract between two sophisticated entities, which entities have chosen to allocate the risk of loss
between themselves as an integral component of their contractual relationship. As the Fifth Circuit has never
had to address the conduct that is sufficient to overturn such contractual allocations in an admiralty case, we
believe that court should determine whether the public policy favoring freedom of contract between these
contracting parties should prevail in admiralty as the Texas Supreme Court recently did with respect to Texas
state law in Fairfield lns. Co. v. Stephens Martin Paving, LP,246 S.W.3d 653 (Tex.2008). Whilewe
acknowledge and respect this Honorable Court's decision, there is a split of decisions on this issue in the
district courts within the Fifth Circuit, and it is important to resolve the scope of contractual risk allocation.
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              WHICH MAY BE BROUGHT AGAINST INEW TECHI BY
              ENERGY XXI... IN ANYWISE ARISING OUT OF OR
              INCIDENT TO WORK BEING PERFORMED ON OR
              ABOUT ENERGY XK'S PROPERTY OR JOBSITE... EVEN
              THOUGH OCCASIONED, BROUGHT ABOUT, CAUSED BY,
              ARISING OUT OF OR RESULTING FROM...THE
              N{EGLIGENCE OR STRICT LIABILITY, IN WHOLE OR IN
              PART, OF INEW TECH], OR By OR FROM ANy OTHER
              MEANS, RELATIONSHIP OR CAUSE, WITHOUT LIMITATION
              WHATSOEVER.

Id. at T 4(F) (emphasis added) (Rec. Doc. 16).

       2.2 Accordingly, New Tech filed its counterclaim for breach of contract and a
request for declaratory relief that EXXI's claims were bared by this indernnity provision

in the MSC. (Rec. Doc. 6). EXXI then filed its First Amended Cornplaint adding claims

for gross negligence and breach of contract arising fiom the same incident. Following

soûle discovery, New Tech filed its Motion for Surnmary Judgrnent on its counterclaim

seeking disrnissal of all of EXXI's clairns. (Rec. Doc. l6). EXXI responded by arguing

that the indemnity provision in paragraph 4(F) of the MSC was not broad enough to

include claims for breach of contract and gross negligence. (Rec. Doc. 20). EXXI also

argued that the indemnity provision could not apply its gross negligence claim as a matter

of public policy.Id.

       2.3 The Court ruled on the motion in its April 15,201 1 Order holding that New
Tech was entitled to indemnity under the MSC for EXXI's negligence and breach of

contract clairns. Order at 14-19 (Rec. Doc. 42). The Court also found that the language of

the indemnity provision was broad enough to include EXXI's claim for gross negligence.

Id. at 20-2I (Rec. Doc. 42). However, the Courl ruled that maritime law precludes
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enforcement of the indemnity provision a matter of public policy to the extent that the

provision covers claims for gross negligence.Id. at2I-24 (Rec. Doc.42).

       2.4 New Tech now requests that the Court certify for interlocutory appeal the
question of whether two contracting parlies lnay agree to indemnify each other for claims

of gross negligence under rnaritime law. The only remaining claim in this case is EXXI's

clairn for gross negligence, thus rnaking this question dispositive of the entire case. New

Tech does not seek to delay this lawsuit, but only have this purely legal question decided

without the need of going through an extended, costly trial.

                       [II.   AncuiuaxT AND Aurnonrrrns

       3.1 An order is subject to certifìcation if the trial court detennines (1) the order
involves a controlling question of law; (2) there is a substantial ground for difference of

opinion as to that issue; and (3) imrnediate appeal from the order may materially advance

the ultirnate termination of the litigation. 28 U.S.C. ç 1292(b); In re lchinose, 946 F.2d

1169, lI71 (Sth Cir. 1 991); Hadjipateras v. Pacffica, 5.A., 290 F.2d 697 , 702 (5th Cir.

1961) (noting that "[t]he statute was frarned in broad language"). The Federal Rules of

Appellate Procedure pennit the Courl, at any tirne before final judgment, to "amend its

order, either on its own or in response to a party's motion, to include the required

pennission or statement" for certification. Fso. R. App. P. 5(a)(3) t(t)]; see also Aparcio

v. Swan Lalce, 643 F.2d 1109, l1l2 (5th Cir. 1981). As shown below, all three

requirements are satisfied here.
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A.     Controlling Issue of Law and Material Advancement of Termination of
       Litigation

       3.2 The first and third requirements for certification are easily met in this case.
An issue of law is controlling, and thus proper for certification, if it involves a pure issue

of law and not rnerely the application of law to fact. See, e.g., Clark-Dietz & Assocs. v.

Basìc Constr. Co.,702 F.2d 67,69 (5th Cir. 1983) ("fF]act-review questions" are

"inappropriate for $ 1292(b) review"); Ahrenholz v. Boarcl of Trustees o.f Univ. of lttinois,

219 F.3d 674,676-77 (7th Cir. 2000) ("because it was an abstract issue of law, it was

suitable for determination by an appellate court without a trial record"); McFarlin v.

Conseco Servs., LLC,381 F.3d 1251,1259 (llth Cir. 2004) ("To summarize, ç 1292(b)

appeals were intended, and should be reserved, for situations in which the court of

appeals can rule on a pure, controlling question of law without having to delve beyond

the surface of the record in order to determine the facts"); Smith v. AET Inc., Ltd., 2007

U.S. Dist. LEXIS 40691, at *6 (S D. Tex. 2001) ("The arguments set forth in regard to

both appealed orders are heavily fact-based and necessarily involve a review of the

factual record. Accordingly, these orders are not appropriate for interlocutory review

under the standard set forth in 28 U.S.C. $ 1292(b)").

       3.3 Further, whether an issue of law is controlling generally hinges upon its
potential to have some irnpact on the course of the litigation. Ryan v. Flowsen¡e, 444 F.

Supp. 2d 7I8, 723 (N.D. Tex. 2006). Courts have found issues to be controlling if

reversal of the district court's holding would result in dismissal of the action. 1d. But the

result of dismissal is not necessary to justify ç 1292(b) certification. All that must be
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shown in order for a question to be "controlling" is that resolution of the issue on appeal

could materially affect the outcome of the litigation in the district court. Castano v. Am.

Tobacco, 162 F.R.D. ll2, 1 i5 (E.D. La. 1995).

       3.4 Whether the indemnity provision in the MSC is enforceable as to EXXI's
gross negligence claim is undoubtedly a controlling legal question that is dispositive of

this entire case. The Court held that the inderrnity provision in paragraph 4(F) of the

MSC was unenforceable as to clairns for gross negligence because of public policy

reasons. This deterrnination was not prernised upon an interpretation of the contract or

analysis of any of the facts particular to this case. It was a purely legal determination,

which can be heard on interlocutory appeal.

       3.5 Fufther, if the Fifth Circuit deterrnines that this legal detennination was
incorrect, then it would resolve the entire case. EXXI's gross negligence clairn is the only

remaining clairn in this lawsuit and the Court has already ruled that the MSC's indernnity

provision is broad enough to include claims for gross negligence. Thus, if indemnity for

gross negligence is not against public policy under rnaritime law, then EXXI's remaining

claim must be disrnissed. Accordingly, there is no real dispute that these two

requirements under Section 1292(b) are rnet in this case. A decision by the Fifth Circuit

in favor of New Tech would result in a saving of the judicial resources of a full trial on

the merits of the only remaining claim.

B.     Substantial Ground for Difference of Opinion

       3.6 Under section 1292(b), there is substantial ground for difference of opinion
when the authority on a point of law is in conflict, or when there is a "relative lack of
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authority on the precise question." In re Prudential Lines, Inc., Nos. 93 Civ. 1481 (CSH),

93 Civ. 7164 (CSH), 1995 U.S. Dist. LEXIS 2056, at xl (S.D.N.Y. Feb. 22, 1995).

Substantial grounds for a difference of opinion also arise when an issue involves one or

rrore difficult and pivotal questions of law not settled by controlling authority. Nat'l

Union Fire Ins. Co. v. Ready Pac Foods, Inc., No. 09-3220 RSWL, 201I U.S. Dist.

LEXIS 28765, at x10 (citing 28 U.S.C. ç 1292(b)). In the present case there is both a

relative lack of authority on the precise question, and the authority that exists is in

conflict.

        3.7 Whether maritirne law allows contracting parties to indernnify each other
for gross negligence is an issue that has not been directly addressed by the Fifth Circuit

and that has divided the district courts. There is dicturn frorn the Fifth Circuit concerning

unilateral exemptions from liability in maritime contracts, but that dictum is not

applicable to situations, as in this case, concerning reciprocal indemnity clauses. The

district courts dealing with this specific issue are divided, necessitating guidance from the

Fifth Circuit.

       3.8 The first Fifth Circuit case touching on the issue, which this Court relied
upon in its Order, is Todd Shipyards Corp. v. Turbine Serv., [nc.,674 F.2d 401 (5th Cir.

1982).In that case, the Fifth Circuit made a statement in dicturn conceming the standard

for "[g]ross negligence, which will invalidate an exemption from liability." Id. at 41I.

The court's actual holding was that there was insufficient evidence te support the district

court's finding of gross negligence so that the contractual exemption was valid. The

Ninth Circuit later summarized: "No courl of appeals has held an exculpatory clause in a
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maritime contract inapplicable to gross negligence. The First and Fifth Circuits have

indicated that exculpatory clauses do not cover gross negligence, but concluded that such

conduct had not been established in the particular cases." Royal Ins. Co. of Am. v.

Southwest Marine, 194 F.3d 1009, 1014 (9th Cir. 1999) (citingTodd Shipyards). More

importantly, the dicturn in Todd Shipyards dealt with a unilateral exculpatory clause that

limited one party's liability for negligence or breach of contract to a certain amount of

damages. Todd Shipyards, 674 F.2d at 409. The dicturn did not apply to the issue of

reciprocal indernnity agreernents.

       3.9 The Todd Shipyards case also involved indernnity claims. The district court
in Todd ShÌpyards initially held that the contractual limitation of $300,000 in Todd's

contract with the plaintiff vessel owner "was ineffective because Todd was guilty of

gross negligence." Todd Shipyards,614F.2d at 410. Despite its finding that Todd was

guilty of gross negligence that rendered its contractual lirnitation of liability ineffective,

however, the district courl awarded Todd full indemnity from its contractor, Turbine

Service, and its subcontractor, Gonzales Manufacturing & Industrial Machine Works. 1d.

at 416,417. Thus, the district court did not consider its finding of gross negligence to be a

bar to an award of indemnity to Todd frorn Todd's contractor and subcontractor.

       3. i   0 The other cases cited by the Court in its Order concern exculpatory clauses
or lirnitation of liability clauses, and not reciprocal indemnity agreements. See Agip

Petroleum Co., Inc. v. Gulf Island Fabrication, Lnc.,920 F. Supp. 1330, 1341 (S.D. Tex.

1996) (holding that exculpatory clause limiting consequential darnages could not lirnit

liability for gross negligence); Royal Ins. Co., 194 F.3d at 1016 (holding unilateral
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exculpatory clauses could not be used by a parly to "shield itself contractually from

liability for gross negligence"); La Esperanza de P.R., Inc. v. Perez y Cia. de P.R., Inc.,

124 F .3d 10, 19 ( 1st Cir. 1997) (noting that a red letter exculpatory clause rnay not limit

liability for gross negligence under maritime law). All of these cases cite to the dicturn in

Todd Shipyards to support their holdings.

       3.11 Like the district court in Todd Shipyards, cases dealing with actual
indernnity agreements, and not merely exculpatory clauses, support the position that such

agreernents are enforceable under maritime law. First, Judge Sirn Lake, in adopting the

rnagistrate judge's opinion, held that an indemnity agreernent requiring inderrnification

for darnages caused by gross negligence was enforceable for clairns of reckless conduct.

In re Horizon Vessels 1nc., No. H-03-3280,2005 U.S. Dist. LEXIS 42110, at *34 (S.D.

Tex. Nov. 18,2005), opinion adopted as rnodified,2005 U.S. Dist. Lexis 42117 (S.D.

Tex. Dec. 22,2005).

       3.12' Second, other courts dealing with the issue of indernnity for gross

negligence have indicated that such clauses are enforceable if the clause is broad enough

to include claims for gross negligence. The federal district courl for the Eastern District

of Louisiana has repeatedly held that an indemnity provision did not apply to clairns for

gross negligence because the provision was silent on the issue of gross negligence. In re

TT Boat Corp., No. Civ. A98-0494,98-1109, 1999 U.S. Dist. LEXIS 21025 (E.D. La.

Sept. 10, 1999); In re Torch, 1nc., No. 94-2300,95-1982, 1996 U.S. Dist. LEXIS 5053

(E.D.La. April 16, 1996); Ruehs v. Alliance Offihore, C.A. No.05-6360,2007 AMC

275,2001 U.S. Dist. Lexis 5828 (E.D.La. Jan.26,2007). None of these cases stated that
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maritime law would prohibit indernnity for gross negligence. This comports with the

general maritime principal that "[a] duty to indemnify in a given situation will exist if the

parties' intention for a particular indemnification can reasonably be inferred frorn the

language of a contract . .       ." East v. Premier, Inc., 98 Fed. App'x 317, 320 (5th Cir.

2004).

         3.13 This Court has already held that the indemnity clause in the MSC is broad
enough to include gross negligence, and that only public policy prevents the clause frorn

applying to EXXI's clairn for gross negligence in this case. The Couft's holding conflicts

with the district court decision in Todd Shipyards, the In re Horizon decision frorn this

district, as well as the series of cases from the Eastem District of Louisiana. There is also

no binding authority frorn the Fifth Circuit on this particular issue. For these reasons,

New Tech believes there is a sufficient basis to certify the specifîc issue of whether

reciprocal indemnity agreements covering clairns for gross negligence are enforceable

under rnaritirne law.

                                      IV. Pnaynn
         WHEREFORE PREMiSES CONSIDERED, Defendant and Counter-Plaintiff,

New Tech Engineering, L.P., respectfully requests that this Honorable Court arnend its

Order (Rec. Doc. 42) and enter findings pursuant to 28 U.S.C. ç 1292(b) that there is a

controlling question of law, that there is substantial ground for a difference of opinion

regarding the question, and that an irnrnediate appeal may materially advance the ultimate

tennination of the litigation.




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                                        Respectfull y submitted,

                                        BROWN SIMS, P.C.

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      I certify that Energy XXI, GoM, LLC is opposed to this Motion.

                           CERTIFICATE OF SERVICE

      I certify that on October 13,2011, all counsel of record were served with New
Tech Engineering, L.P.'s Motion for Certification of Order for Interlocutory Appeal
through the Court's CM/ECF systern under Local Rule CV-5(aX3).

                                                      /s/ Robert M. Brownrns
                                                      Robert M. Browning



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